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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-cv-03157-PAB-STV

  WENDELL H. STONE COMPANY, INC., d/b/a STONE & COMPANY,
  individually and on behalf of all others similarly situated,

        Plaintiff,

  v.

  FIVE STAR ADVERTISING, LLC and
  JOHNNY LEE,

        Defendants.


                     ORDER SETTING SCHEDULING CONFERENCE

  Entered By Magistrate Judge Scott T. Varholak

         Pursuant to 28 U.S.C. § 636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b),
  this case has been referred to this Court to, inter alia, convene a scheduling conference
  under Fed. R. Civ. P. 16(b) and enter a scheduling order meeting the requirements of
  D.C.COLO.LCivR 16.2. [#10]

        IT IS ORDERED:

         1.    Pursuant to Fed. R. Civ. P. 16(b) and Local Civil Rule 16.1, the Court shall
  hold a scheduling conference on:

                               February 14, 2020 at 9:30 AM

  in Courtroom A-402, Alfred A. Arraj United States Courthouse, 901 19th Street, Denver,
  Colorado. Please remember that anyone seeking entry into the courthouse will be
  required to show valid photo identification. See D.C.COLO.LCivR 83.2(b). If this date is
  not convenient for any party, the parties should confer and file a motion to reschedule the
  scheduling conference to a more convenient date.

        2. At least 21 days in advance of the scheduling conference, the parties shall
  meet and attempt to agree upon a scheduling order pursuant to Fed. R. Civ. P. 26(f). The
  Court strongly encourages the parties to meet face to face, but should that prove
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  impossible, the parties may meet by telephone conference. All parties are jointly
  responsible for arranging and attending the Rule 26(f) conference.

          During the Rule 26(f) conference, the parties shall discuss all of the issues
  identified in Fed. R. Civ. P. 16(c)(2) and Fed. R. Civ. P. 26(f)(2-3), including the nature
  and basis of their claims and defenses and the possibilities for a prompt settlement or
  resolution of the case, make or arrange for the disclosures required by Fed. R. Civ. P.
  26(a)(1), and develop their proposed scheduling/discovery plan. The parties should also
  discuss the possibility of informal discovery, whether the parties anticipate the need for
  experts, and whether the parties anticipate substantial electronic discovery. The parties
  should be prepared to discuss these issues at the scheduling conference.

         3. On or before February 7, 2020, the parties shall file a joint proposed scheduling
  order in the form required pursuant to D.C.COLO.LCivR 16.2. A copy of the instructions
  for the preparation of the proposed scheduling order and the required form can be
  downloaded from the court’s website at www.cod.uscourts.gov.                   Pursuant to
  D.C.COLO.LCivR 16.1, plaintiff shall be responsible for filing the proposed scheduling
  order, except in cases removed to this court, in which cases the party who removed the
  case shall file the proposed scheduling order. The proposed scheduling order shall be
  submitted electronically pursuant to District of Colorado Electronic Case Filing (“ECF”)
  Procedures V.6.1.

         4. The parties shall comply with the mandatory disclosure requirements of Fed.
  R. Civ. P. 26(a)(1).

         5. Pursuant to Fed. R. Civ. P. 26(d), no discovery shall be served prior to the Rule
  26(f) meeting.


  DATED: November 25, 2019                         BY THE COURT:


                                                   s/Scott T. Varholak
                                                   United States Magistrate Judge




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